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                                  STATEMENT OF FACTS

        On February 9, 2019 at approximately 6:11 a.m., members of the Metropolitan Police
Department’s 7th District Crime Suppression Team executed a D.C. Superior Court search warrant
at xxxx Xxxxxxx Xxxx, XX, Xxxx. X, Washington, DC. Once inside, officers located the
defendant, Kevin Fields sleeping in the back bedroom. Recovered from the bedroom was a loaded
Glock .45 caliber handgun, a loaded Ruger 9mm handgun, a loaded Intratec AB-10 9mm handgun
with the serial numbers obliterated, firearm magazines, razorblades with white powder residue,
three digital scales with a white residue, a brown bag with a plastic bag containing white powder
substance, a plastic bag containing a white rock-like substance, a white dinner plate with a white
powder residue, mail matter in the defendant’s name, and a pair blue jeans with $876 in U.S.
Currency in the pockets, which the defendant said belonged to him. A portion of the white rock-
like substance field tested positive for cocaine base, and weighed approximately 15.87 grams, and
a portion of the tan powder substance field tested positive for opiates, and weighed approximately
6.12 grams. The defendant was placed under arrest. After arrest, the defendant told detectives,
that everything recovered from the bedroom belonged to him. The defendant has prior convictions
in the Superior Court of the District of Columbia for Criminal Case Nos. 2012-CF2-003786 and
2001-FEL-000402. This offense is punishable by imprisonment for more than one year in the
District of Columbia. There are no firearms manufacturers located in the District of Columbia.


                                             _________________________________
                                             OFFICER VINCENT ALTIERE
                                             METROPOLITAN POLICE DEPARTMENT
                                             SEVENTH DISTRICT


SWORN AND SUBSCRIBED BEFORE ME ON THE _____ DAY OF FEBRUARY, 2019.


                                                    ___________________________________
                                                    G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE
